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   ASSEMBLY COMMITTEE SUBSTITUTE FOR
                     ASSEMBLY, No. 4769

         STATE OF NEW JERSEY
                       220th LEGISLATURE
                              ADOPTED NOVEMBER 14, 2022



        Sponsored by:
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        District 17 (Middlesex and Somerset)
        Assemblyman LOUIS D. GREENWALD
        District 6 (Burlington and Camden)
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        District 22 (Middlesex, Somerset and Union)
        Senator LINDA R. GREENSTEIN
        District 14 (Mercer and Middlesex)

        Co-Sponsored by:
        Senator Johnson



        SYNOPSIS
           Makes various revisions to requirements for obtaining a firearm purchaser
        identification card, permit to purchase a handgun, and permit to carry a
        handgun; codifies sensitive places in which firearms and destructive devices are
        prohibited.

        CURRENT VERSION OF TEXT
          Substitute as adopted by the Assembly Judiciary Committee.




                         (Sponsorship Updated As Of: 12/19/2022)
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         1   AN ACT concerning the sale and possession of firearms and
         2     supplementing and amending various parts of the statutory law.
         3
         4      BE IT ENACTED by the Senate and General Assembly of the State
         5   of New Jersey:
         6
         7      1. (New section) The Legislature finds and declares that:
         8      a. The decision of the United States Supreme Court in New
         9   York State Rifle & Pistol Association v. Bruen holds significant
        10   implications for carrying a handgun in New Jersey and the law
        11   governing the issuance of permits to carry a handgun. The Bruen
        12   decision establishes that states cannot deny permits to carry a
        13   handgun to otherwise-qualified citizens who fail to show that they
        14   have the “proper cause” to carry a handgun. New Jersey law relies
        15   on a similar standard, considering whether an applicant has a
        16   “justifiable need,” in determining whether to issue a permit to carry
        17   a handgun.
        18      b. In accordance with the precedent established in the Bruen
        19   decision, laws requiring showings of particularized need are no
        20   longer legally viable to determine whether a person may carry a
        21   handgun in public. The Bruen decision does make clear, however,
        22   that the Legislature can enact laws to protect our communities from
        23   threats to public health, safety, and welfare posed by gun violence,
        24   which take into account as appropriate the Supreme Court’s Second
        25   Amendment ruling while continuing to promote and enhance public
        26   safety.
        27      c. Statistics show that expanding handgun carrying creates
        28   safety risks, helping to fuel the epidemic of gun violence. For
        29   example, a study by researchers at the Johns Hopkins Bloomberg
        30   School of Public Health found that the estimated average rate of
        31   officer-involved shootings increased by 12.9 percent in ten states
        32   that relaxed restrictions between 2014 and 2020 on civilians
        33   carrying concealed firearms in public. Accordingly, evidence
        34   demonstrates that more guns on the streets can translate into more
        35   acts of gun violence. To mitigate the impact of having more people
        36   carrying guns in public places, steps must be taken to better ensure
        37   that those who exercise the right to carry are responsible, law-
        38   abiding, and appropriately trained individuals who would not pose
        39   undue safety risks if armed in public places.
        40      d. In Bruen, the Supreme Court recognized that states may
        41   prohibit individuals who are not “law-abiding, responsible citizens”
        42   from carrying firearms in public, and endorsed the use of “licensing
        43   requirements for carrying a handgun for self-defense.” Although the
        44   Court did not provide a complete list of lawful requirements, it
        45   specifically cited a “background check, mental health check, training

               EXPLANATION – Matter enclosed in bold-faced brackets [thus] in the above bill is
             not enacted and is intended to be omitted in the law.

               Matter underlined thus is new matter.
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         1   in firearms handling and in laws regarding the use of force, among
         2   other possible requirements” as permissible. The purpose of these
         3   checks, the Court explained, is to “ensure only that those bearing
         4   arms in the jurisdiction are in fact, ‘law-abiding, responsible
         5   citizens.’” It is thus important to bolster and improve the process in
         6   this State for ensuring that only such individuals possess and carry
         7   firearms. Toward that end, this act strengthens the criteria and
         8   background investigation requirements that are used to determine
         9   whether an applicant is qualified to carry a firearm in New Jersey.
        10       e. This act also designates places in which the carrying of a
        11   firearm or destructive device is prohibited. Previously, application
        12   of the justifiable need standard minimized the serious dangers of
        13   misuse and accidental use inherent in the carrying of handguns in a
        14   public place. Given the likelihood that a much greater number of
        15   individuals will now qualify to carry handguns in public, it is now
        16   both necessary and appropriate to clearly identify in the law those
        17   sensitive places where, due to heightened public safety concerns,
        18   carrying a dangerous, potentially lethal device or weapon, including
        19   a handgun, is not permissible. These prohibitions are based on
        20   common sense principles and historical analogues.
        21       f. Notwithstanding its rejection of a particularized need
        22   standard, the Bruen decision recognizes that the carrying of
        23   firearms in sensitive places can “be prohibited consistent with the
        24   Second Amendment.” Indeed, the Court assumed it settled that
        25   “laws forbidding the carrying of firearms in sensitives places such
        26   as schools and government buildings,” as well as other places such
        27   as “legislative assemblies, polling places, and courthouses,” are
        28   “longstanding” and not subject to disputes regarding their
        29   constitutionality. The Court added that other “sensitive place”
        30   regulations may be permissible if “consistent with the Second
        31   Amendment’s text and historical understanding” – that is,
        32   “relevantly similar” to historical analogues.
        33       g. The sensitive-place prohibitions on dangerous weapons set
        34   forth in this act are rooted in history and tradition. They are
        35   analogous to historical laws that can be found from the Founding
        36   era to Reconstruction, which are also found in modern laws in many
        37   states. History and tradition support at least the following location-
        38   based restrictions on carrying firearms:
        39       (1) Places that are the site of core constitutional activity, such as
        40   but not limited to the exercise of First Amendment rights, or that
        41   are otherwise vital to the functioning of democracy and our system
        42   of government. That includes prohibitions of firearms in facilities
        43   within the criminal justice system;
        44       (2) Schools, universities, other educational institutions, where
        45   people assemble for educational purposes and for the purposes of
        46   teaching, learning, research, and the pursuit of knowledge;
        47       (3) Parks and other recreation spaces, including locations where
        48   children congregate;
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         1      (4) Locations that protect vulnerable classes of people, such as
         2   the young and the frail;
         3      (5) Places where intoxicating substances are sold, places where
         4   large groups of individuals congregate, and places where volatile
         5   conditions may pose a threat to public safety; and
         6      (6) Various forms of transportation and public infrastructure,
         7   whose safety, security, and stability are critical to supporting social
         8   function.
         9      h. The historical record also supports restriction of firearm
        10   possession on private property when the owner has not given their
        11   consent. Many states require a property owner’s permission before
        12   another may enter private dwellings and private lands with a
        13   firearm or other weapons. Requiring consent from the property
        14   owner before carrying weapons onto private property is also in line
        15   with both the reasonable expectations and property rights of New
        16   Jersey property owners.
        17      i. Additionally, the fees to obtain a firearms purchaser
        18   identification permit or a permit to purchase a handgun in New
        19   Jersey were initially set by statute over 50 years ago at $5 and $2,
        20   respectively, and in over a half century the law has never been
        21   changed to increase these fees, notwithstanding the impact of
        22   inflation, increasing costs of background checks and related
        23   investigations, and the investment made over the years to
        24   technologically upgrade the firearms application and registration
        25   system established and maintained by the New Jersey State Police.
        26      j. Accordingly, the Legislature finds it is necessary and proper
        27   to revise this State’s procedural and substantive laws related to
        28   firearms to update the process and the standards applicable to
        29   firearm purchase and possession as well as our handgun carry law,
        30   and to continue to promote public safety and reduce gun violence in
        31   a manner consistent with the Second Amendment principles
        32   articulated by the current Supreme Court jurisprudence. These
        33   revisions will focus on factors other than the need or purpose a
        34   person may assert as justification to carry a handgun, such as the
        35   person’s background and qualifications, with the ultimate goal of
        36   keeping New Jersey streets and neighborhoods safe from gun
        37   violence.
        38
        39      2. N.J.S.2C:58-3 is amended to read as follows:
        40      2C:58-3. a. Permit to purchase a handgun.
        41      (1) [No] A person shall not sell, give, transfer, assign or
        42   otherwise dispose of, nor receive, purchase, or otherwise acquire a
        43   handgun unless the purchaser, assignee, donee, receiver or holder is
        44   licensed as a dealer under this chapter or has first secured a permit
        45   to purchase a handgun as provided by this section.
        46      (2) A person who is not a licensed retail dealer and sells, gives,
        47   transfers, assigns, or otherwise disposes of, or receives, purchases
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         1   or otherwise acquires a handgun pursuant to this section shall
         2   conduct the transaction through a licensed retail dealer.
         3       The provisions of this paragraph shall not apply if the transaction
         4   is:
         5       (a) between members of an immediate family as defined in
         6   subsection n. of this section;
         7       (b) between law enforcement officers;
         8       (c) between collectors of firearms or ammunition as curios or
         9   relics as defined in Title 18, U.S.C. section 921 (a) (13) who have
        10   in their possession a valid Collector of Curios and Relics License
        11   issued by the Bureau of Alcohol, Tobacco, Firearms, and
        12   Explosives; or
        13       (d) a temporary transfer pursuant to section 1 of P.L.1992, c.74
        14   (C.2C:58-3.1) or section 1 of P.L.1997, c.375 (C.2C:58-3.2).
        15       (3) Prior to a transaction conducted pursuant to this subsection,
        16   the retail dealer shall complete a National Instant Criminal
        17   Background Check of the person acquiring the handgun. In
        18   addition:
        19       (a) the retail dealer shall submit to the Superintendent of State
        20   Police, on a form approved by the superintendent, information
        21   identifying and confirming the background check;
        22       (b) every retail dealer shall maintain a record of transactions
        23   conducted pursuant to this subsection, which shall be maintained at
        24   the address displayed on the retail dealer's license for inspection by
        25   a law enforcement officer during reasonable hours;
        26       (c) a retail dealer may charge a fee for a transaction conducted
        27   pursuant to this subsection; and
        28       (d) any record produced pursuant to this subsection shall not be
        29   considered a public record pursuant to P.L.1963, c.73 (C.47:1A-1 et
        30   seq.) or P.L.2001, c.404 (C.47:1A-5 et al.).
        31       b. Firearms purchaser identification card.
        32       (1) [No] A person shall not sell, give, transfer, assign or
        33   otherwise dispose of nor receive, purchase or otherwise acquire an
        34   antique cannon or a rifle or shotgun, other than an antique rifle or
        35   shotgun, unless the purchaser, assignee, donee, receiver or holder is
        36   licensed as a dealer under this chapter or possesses a valid firearms
        37   purchaser identification card, and first exhibits the card to the seller,
        38   donor, transferor or assignor, and unless the purchaser, assignee,
        39   donee, receiver or holder signs a written certification, on a form
        40   prescribed by the superintendent, which shall indicate that [he] the
        41   person presently complies with the requirements of subsection c. of
        42   this section and shall contain [his] the person’s name, address and
        43   firearms purchaser identification card number or dealer's
        44   registration number. The certification shall be retained by the
        45   seller, as provided in paragraph (4) of subsection a. of N.J.S.2C:58-
        46   2, or, in the case of a person who is not a dealer, it may be filed
        47   with the chief [of] police officer of the municipality in which [he]
        48   the person resides or with the superintendent.
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         1       (2) A person who is not a licensed retail dealer and sells, gives,
         2   transfers, assigns, or otherwise disposes of, or receives, purchases
         3   or otherwise acquires an antique cannon or a rifle or shotgun
         4   pursuant to this section shall conduct the transaction through a
         5   licensed retail dealer.
         6       The provisions of this paragraph shall not apply if the transaction
         7   is:
         8       (a) between members of an immediate family as defined in
         9   subsection n. of this section;
        10       (b) between law enforcement officers;
        11       (c) between collectors of firearms or ammunition as curios or
        12   relics as defined in Title 18, U.S.C. section 921 (a) (13) who have
        13   in their possession a valid Collector of Curios and Relics License
        14   issued by the Bureau of Alcohol, Tobacco, Firearms, and
        15   Explosives; or
        16       (d) a temporary transfer pursuant to section 1 of P.L.1992, c.74
        17   (C.2C:58-3.1) and section 1 of P.L.1997, c.375 (C.2C:58-3.2).
        18       (3) Prior to a transaction conducted pursuant to this subsection,
        19   the retail dealer shall complete a National Instant Criminal
        20   Background Check of the person acquiring an antique cannon or a
        21   rifle or shotgun. In addition:
        22       (a) the retail dealer shall submit to the Superintendent of State
        23   Police, on a form approved by the superintendent, information
        24   identifying and confirming the background check;
        25       (b) every retail dealer shall maintain a record of transactions
        26   conducted pursuant to this section which shall be maintained at the
        27   address set forth on the retail dealer's license for inspection by a law
        28   enforcement officer during reasonable hours;
        29       (c) a retail dealer may charge a fee, not to exceed $70, for a
        30   transaction conducted pursuant to this subsection; and
        31       (d) any record produced pursuant to this subsection shall not be
        32   considered a public record pursuant to P.L.1963, c.73 (C.47:1A-1 et
        33   seq.) or P.L.2001, c.404 (C.47:1A-5 et al.).
        34       c. Who may obtain.         [No] Except as hereinafter provided, a
        35   person [of good character and good repute] shall not be denied a
        36   permit to purchase a handgun or a firearms purchaser identification
        37   card, unless the person is known in the community in which [he]
        38   the person lives as someone who has engaged in acts or made
        39   statements suggesting the person is likely to engage in conduct,
        40   other than justified self-defense, that would pose a danger to self or
        41   others, [and who] or is [not] subject to any of the disabilities set
        42   forth in this section or other sections of this chapter [, shall be
        43   denied a permit to purchase a handgun or a firearms purchaser
        44   identification card, except as hereinafter set forth]. [No] A
        45   handgun purchase permit or firearms purchaser identification card
        46   shall not be issued:
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         1      (1) To any person who has been convicted of : (a) any crime in
         2   this State or its felony counterpart in any other state or federal
         3   jurisdiction; or (b) a disorderly persons offense in this State
         4   involving an act of domestic violence as defined in section 3 of
         5   P.L.1991, c.261 (C.2C:25-19) or its felony or misdemeanor
         6   counterpart involving an act of domestic violence as defined under
         7   a comparable statute in any other state or federal jurisdiction,
         8   whether or not armed with or possessing a weapon at the time of the
         9   offense;
        10      (2) To [any drug-dependent person as defined in section 2 of
        11   P.L.1970, c.226 (C.24:21-2), to] any person who is presently
        12   confined for a mental disorder [to a hospital, mental institution or
        13   sanitarium] as a voluntary admission as defined in section 2 of
        14   P.L.1987, c.116 (C.30:4-27.2) or who is presently involuntarily
        15   committed to inpatient or outpatient treatment pursuant to [section
        16   1 of] P.L.1987, c.116 (C.30:4-27.1 et seq.) [or to any person who is
        17   presently an habitual drunkard];
        18      (3) To any person who suffers from a physical defect or disease
        19   which would make it unsafe for [him] that person to handle
        20   firearms, [to any person who has ever been confined for a mental
        21   disorder,] to any person with a substance use disorder involving
        22   drugs as defined in section 2 of P.L.1970, c.226 (C.24:21-2), or to
        23   any alcoholic as defined in section 2 of P.L.1975, c.305 (C.26:2B-8)
        24   unless any of the foregoing persons produces a certificate of a
        25   medical doctor, treatment provider, or psychiatrist licensed in New
        26   Jersey, or other satisfactory proof, that [he] the person is no longer
        27   suffering from that particular disability in a manner that would
        28   interfere with or handicap [him] that person in the handling of
        29   firearms; to any person who knowingly falsifies any information on
        30   the application form for a handgun purchase permit or firearms
        31   purchaser identification card;
        32      (4) To any person under the age of 18 years for a firearms
        33   purchaser identification card and to any person under the age of 21
        34   years for a permit to purchase a handgun;
        35      (5) To any person where the issuance would not be in the interest
        36   of the public health, safety or welfare because the person is found to
        37   be lacking the essential character of temperament necessary to be
        38   entrusted with a firearm;
        39      (6) To any person who is subject to or has violated a temporary
        40   or final restraining order issued pursuant to the "Prevention of
        41   Domestic Violence Act of 1991", P.L.1991, c.261 (C.2C:25-17 et
        42   seq.) prohibiting the person from possessing any firearm or a
        43   temporary or final domestic violence restraining order issued in
        44   another jurisdiction prohibiting the person from possessing any
        45   firearm;
        46      (7) To any person who as a juvenile was adjudicated delinquent
        47   for an offense which, if committed by an adult, would constitute a
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         1   crime and the offense involved the unlawful use or possession of a
         2   weapon, explosive or destructive device or is enumerated in
         3   subsection d. of section 2 of P.L.1997, c.117 (C.2C:43-7.2);
         4      (8) To any person whose firearm is seized pursuant to the
         5   "Prevention of Domestic Violence Act of 1991", P.L.1991, c.261
         6   (C.2C:25-17 et seq.) and whose firearm has not been returned; or
         7      (9) To any person named on the consolidated Terrorist Watchlist
         8   maintained by the Terrorist Screening Center administered by the
         9   Federal Bureau of Investigation;
        10      (10) To any person who is subject to or has violated a court order
        11   prohibiting the custody, control, ownership, purchase, possession,
        12   or receipt of a firearm or ammunition issued pursuant to the
        13   "Extreme Risk Protective Order Act of 2018", P.L.2018, c.35
        14   (C.2C:58-20 et al.);
        15      (11) To any person who is subject to or has violated a court order
        16   prohibiting the custody, control, ownership, purchase, possession,
        17   or receipt of a firearm or ammunition issued pursuant to P.L.2021,
        18   c.327 (C.2C:12-14 et al.);
        19      (12) To any person who is subject to or has violated a temporary
        20   or final restraining order issued pursuant to the “Sexual Assault
        21   Survivor Protection Act of 2015,” P.L.2015, c.147 (C.2C:14-13 et
        22   al.);
        23      (13) To any person who has previously been voluntarily admitted
        24   to inpatient treatment pursuant to P.L.1987, c.116 (C.30:4-27.1 et
        25   seq.) or involuntarily committed to inpatient or outpatient treatment
        26   pursuant to P.L.1987, c.116 (C.30:4-27.1 et seq.), unless the court
        27   has expunged the person’s record pursuant to P.L.1953, c.268
        28   (C.30:4-80.8 et seq.);
        29      (14) To any person who is subject to an outstanding arrest
        30   warrant for an indictable crime in this State or for a felony, other
        31   than a felony to which section 1 of P.L.2022, c.50 (C.2A:160-14.1)
        32   would apply, in any other state or federal jurisdiction; or
        33      (15) To any person who is a fugitive from justice due to having
        34   fled from any state or federal jurisdiction to avoid prosecution for a
        35   crime, other than a crime to which section 1 of P.L.2022, c.50
        36   (C.2A:160-14.1) would apply, or to avoid giving testimony in any
        37   criminal proceeding.
        38      In order to obtain a permit to purchase a handgun or a firearms
        39   purchaser identification card, the applicant shall demonstrate that,
        40   within four years prior to the date of the application, the applicant
        41   satisfactorily completed a course of instruction approved by the
        42   superintendent in the lawful and safe handling and storage of
        43   firearms.     The applicant shall be required to demonstrate
        44   completion of a course of instruction only once prior to obtaining
        45   either a firearms purchaser identification card or the applicant's first
        46   permit to purchase a handgun.
        47      The applicant shall not be required to demonstrate completion of
        48   a course of instruction in order to obtain any subsequent permit to
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         1   purchase a handgun, to replace an existing firearms purchaser
         2   identification card, or to renew a firearms purchaser identification
         3   card.
         4      An applicant who is a law enforcement officer who has satisfied
         5   the requirements of subsection j. of N.J.S.2C:39-6, a retired law
         6   enforcement officer who has satisfied the requirements of
         7   subsection l. of N.J.S.2C:39-6, or a veteran who was honorably
         8   discharged as a member of the United States Armed Forces or
         9   National Guard who received substantially equivalent training shall
        10   not be required to complete the course of instruction required
        11   pursuant to the provisions of this subsection.
        12      A person who obtained a permit to purchase a handgun or a
        13   firearms purchaser identification card prior to the effective date of
        14   P.L.2022, c.58 shall not be required to complete a course of
        15   instruction pursuant to this subsection.
        16      d. Issuance. The chief [of] police officer of an organized full-
        17   time police department of the municipality where the applicant
        18   resides or the superintendent, in all other cases, shall upon
        19   application, issue to any person qualified under the provisions of
        20   subsection c. of this section a permit to purchase a handgun or a
        21   firearms purchaser identification card.
        22      A firearms purchaser identification card issued following the
        23   effective date of P.L.2022, c.58 shall display a color photograph
        24   and [a thumb print] be electronically linked to the fingerprints of
        25   the card holder. A person who obtained a firearms purchaser
        26   identification card prior to the effective date of P.L.2022, c.58 shall
        27   not be required to obtain a [firearm] firearms purchaser
        28   identification card that displays a color photograph and [a thumb
        29   print] is electronically linked to fingerprints. The superintendent
        30   shall establish guidelines as necessary to effectuate the issuance of
        31   firearms purchaser identification cards that display a color
        32   photograph and [a thumb print] which are electronically linked to
        33   the fingerprints of the card holder.
        34      The requirements of this subsection concerning firearms
        35   purchaser identification cards issued following the effective date of
        36   P.L.2022, c.58 shall remain inoperative until such time as the
        37   superintendent establishes a system to produce cards that comply
        38   with this requirement and, until such time, applicants issued a
        39   firearms purchaser identification card shall be provided with cards
        40   that do not conform to the requirements of this section, which shall
        41   be afforded full force and effect until such time as the system is
        42   established and a compliant card is issued in accordance with this
        43   subsection. An applicant issued a non-compliant firearms purchaser
        44   identification card shall obtain a card, at no cost to the applicant,
        45   which conforms to the requirements of this section no later than one
        46   year after receiving notice that the system to produce cards that
        47   comply with this requirement is operational.
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          1      If an application for a permit or identification card is denied, the
          2   applicant shall be provided with a written statement of the reasons
          3   for the denial. Any person aggrieved by the denial of a permit or
          4   identification card may request a hearing in the Superior Court of
          5   the county in which [he] the person resides if [he] the person is a
          6   resident of New Jersey or in the Superior Court of the county in
          7   which [his] the person’s application was filed if [he] the person is
          8   a nonresident. The request for a hearing shall be made in writing
          9   within 30 days of the denial of the application for a permit or
         10   identification card. The applicant shall serve a copy of [his] the
         11   request for a hearing upon the chief [of] police officer of the
         12   municipality in which [he] the person resides, if [he] the person is
         13   a resident of New Jersey, and upon the superintendent in all cases.
         14   The hearing shall be held and a record made thereof within [30] 60
         15   days of the receipt of the application for a hearing by the judge of
         16   the Superior Court. No formal pleading and no filing fee shall be
         17   required as a preliminary to a hearing. Appeals from the results of a
         18   hearing shall be in accordance with law.
         19      The Administrative Director of the Courts shall coordinate with
         20   the superintendent in the development of an electronic filing system
         21   to receive requests for hearings and serve the chief police officer
         22   and superintendent as required in this section.
         23      e. Applications.       Applications for permits to purchase a
         24   handgun and for firearms purchaser identification cards shall be in
         25   the form prescribed by the superintendent and shall set forth the
         26   name, residence, place of business, age, date of birth, occupation,
         27   sex, any aliases or other names previously used by the applicant,
         28   gender, and physical description, including distinguishing physical
         29   characteristics, if any, of the applicant, and shall state whether the
         30   applicant is a citizen, whether [he] the applicant is an alcoholic [,
         31   habitual drunkard,] as defined in section 2 of P.L.1975, c. 305 (C.
         32   26:2B-8) or is a drug-dependent person as defined in section 2 of
         33   P.L.1970, c.226 (C.24:21-2), whether [he] the applicant has ever
         34   been confined or committed to a mental institution or hospital for
         35   treatment or observation of a mental or psychiatric condition on a
         36   temporary, interim or permanent basis, giving the name and
         37   location of the institution or hospital and the dates of confinement
         38   or commitment, whether [he] the applicant has been attended,
         39   treated or observed by any doctor or psychiatrist or at any hospital
         40   or mental institution on an inpatient or outpatient basis for any
         41   mental or psychiatric condition, giving the name and location of the
         42   doctor, psychiatrist, hospital or institution and the dates of the
         43   occurrence, whether [he] the applicant presently or ever has been a
         44   member of any organization which advocates or approves the
         45   commission of acts of force and violence to overthrow the
         46   Government of the United States or of this State, or which seeks to
         47   deny others their rights under the Constitution of either the United
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          1   States or the State of New Jersey, whether [he] the applicant has
          2   ever been convicted of a crime or disorderly persons offense in this
          3   State or felony or misdemeanor in any other state or federal
          4   jurisdiction, whether the [person] applicant is subject to a
          5   restraining order issued pursuant to the "Prevention of Domestic
          6   Violence Act of 1991", P.L.1991, c.261 (C.2C:25-17 et seq.) or an
          7   order entered under the provisions of a substantially similar statute
          8   under the laws of another jurisdiction prohibiting the [person]
          9   applicant from possessing any firearm, whether the applicant is
         10   subject to a restraining order issued pursuant to the “Sexual Assault
         11   Survivor Protection Act of 2015,” P.L.2015, c.147 (C.2C:14-13 et
         12   al.) or an order entered under the provisions of a substantially
         13   similar statute under the laws of another jurisdiction, whether the
         14   [person] applicant is subject to a protective order issued pursuant
         15   to the "Extreme Risk Protective Order Act of 2018", P.L.2018, c.35
         16   (C.2C:58-20 et al.), whether the [person] applicant is subject to a
         17   protective order issued pursuant to P.L.2021, c.327 (C.2C:12-14 et
         18   al.) prohibiting the [person] applicant from possessing any firearm,
         19   and other information as the superintendent shall deem necessary
         20   for the proper enforcement of this chapter. For the purpose of
         21   complying with this subsection, the applicant shall waive any
         22   statutory or other right of confidentiality relating to institutional
         23   confinement. The application shall be signed by the applicant and
         24   shall contain as references the names and addresses of two
         25   reputable citizens personally acquainted with [him] the applicant.
         26       An applicant for a permit to purchase a handgun shall also
         27   certify, with respect to each handgun listed on the form, whether the
         28   applicant is purchasing the handgun on the applicant’s own behalf
         29   or, if not, that the purchase is being made on behalf of a third party
         30   to whom the applicant may lawfully transfer the handgun.
         31       Application blanks shall be obtainable from the superintendent,
         32   from any other officer authorized to grant a permit or identification
         33   card, and from licensed retail dealers, or shall be made available
         34   through an online process established or made available by the
         35   superintendent.
         36       The chief police officer or the superintendent shall obtain the
         37   fingerprints of the applicant and shall have them compared with any
         38   and all records of fingerprints in the municipality and county in
         39   which the applicant resides and also the records of the State Bureau
         40   of Identification and the Federal Bureau of Investigation, provided
         41   that an applicant for a handgun purchase permit who possesses a
         42   valid firearms purchaser identification card, or who has previously
         43   obtained a handgun purchase permit from the same licensing
         44   authority for which [he] the applicant was previously fingerprinted,
         45   and who provides other reasonably satisfactory proof of [his] the
         46   applicant’s identity, need not be fingerprinted again; however, the
         47   chief police officer or the superintendent shall proceed to
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          1   investigate the application to determine whether or not the applicant
          2   has become subject to any of the disabilities set forth in this
          3   chapter.
          4      f. Granting of permit or identification card; fee; term; renewal;
          5   revocation. The application for the permit to purchase a handgun
          6   together with a fee of [$2] $25, or the application for the firearms
          7   purchaser identification card together with a fee of [$5] $50, shall
          8   be delivered or forwarded to the licensing authority who, upon
          9   determining that the application is complete, shall investigate the
         10   same and, [unless good cause for the denial thereof appears]
         11   provided the requirements of this section are met, shall grant the
         12   permit or the identification card, or both, if application has been
         13   made therefor, within 30 days from the date of receipt of the
         14   completed application for residents of this State and within 45 days
         15   for nonresident applicants. A permit to purchase a handgun shall be
         16   valid for a period of 90 days from the date of issuance and may be
         17   renewed by the issuing authority for good cause for an additional 90
         18   days. A firearms purchaser identification card issued or renewed
         19   after the effective date of P.L.2022, c.58 shall expire during the
         20   tenth calendar year following its date of issuance and on the same
         21   calendar day as the person's date of birth.
         22      If the date of birth of the firearms purchaser identification card
         23   holder does not correspond to a calendar day of the tenth calendar
         24   year, the card shall expire on the last day of the birth month of the
         25   card holder.
         26      A firearms purchaser identification card issued pursuant to this
         27   section may be renewed upon filing of a renewal application and
         28   payment of the required fee, provided that the holder is not subject
         29   to any of the disabilities set forth in subsection c. of this section and
         30   complies with all other applicable requirements as set forth in
         31   statute and regulation. If an application for renewal of a firearms
         32   purchaser identification card is denied, the applicant shall be
         33   provided with a written statement of the reasons for the denial. Any
         34   person aggrieved by the denial of an application for renewal of a
         35   firearms purchaser identification card may request a hearing in the
         36   Superior Court of the county in which the person resides if the
         37   person is a resident of New Jersey or in the Superior Court of the
         38   county in which the person’s application was filed if the person is a
         39   nonresident. The request for a hearing shall be made in writing
         40   within 30 days of the denial of the application for renewal of the
         41   firearms purchaser identification card. The applicant shall serve a
         42   copy of the request for a hearing upon the chief police officer of the
         43   municipality in which the applicant resides, if the person is a
         44   resident of New Jersey, and upon the superintendent in all cases.
         45   The hearing shall be held and a record made thereof within 60 days
         46   of the receipt of the application for a hearing by the judge of the
         47   Superior Court. A formal pleading and filing fee shall not be
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          1   required as a preliminary to a hearing. Appeals from the results of a
          2   hearing shall be in accordance with law.
          3      The Administrative Director of the Courts shall coordinate with
          4   the superintendent in the development of an electronic filing system
          5   to receive requests for hearings and serve the chief police officer
          6   and superintendent as required in this section.
          7      A firearms purchaser identification card issued prior to the
          8   effective date of P.L.2022, c.58 shall not expire.
          9      A firearms purchaser identification card shall be void if the
         10   holder becomes subject to any of the disabilities set forth in
         11   subsection c. of this section, whereupon the card shall be returned
         12   within five days by the holder to the superintendent, who shall then
         13   advise the licensing authority. Failure of the holder to return the
         14   firearms purchaser identification card to the superintendent within
         15   the five days shall be an offense under subsection a. of N.J.S.2C:39-
         16   10. Any firearms purchaser identification card may be revoked by
         17   the Superior Court of the county wherein the card was issued, after
         18   hearing upon notice, upon a finding that the holder thereof no
         19   longer qualifies for the issuance of the permit. The county
         20   prosecutor of any county, the chief police officer of any
         21   municipality or any citizen may apply to the court at any time for
         22   the revocation of the card.
         23      There shall be no conditions or requirements added to the form
         24   or content of the application, or required by the licensing authority
         25   for the issuance or renewal of a permit or identification card, other
         26   than those that are specifically set forth in this chapter.
         27      g. Disposition of fees. All fees for permits shall be paid to the
         28   State Treasury for deposit into the Victims of Crime Compensation
         29   Office account if the permit is issued by the superintendent, to the
         30   municipality if issued by the chief [of] police officer, and to the
         31   county treasurer if issued by the judge of the Superior Court.
         32      h. Form of permit; [quadruplicate] establishment of a web
         33   portal; disposition of [copies] the completed information. (1)
         34   Except as otherwise provided in paragraph (2) of this subsection,
         35   the permit shall be in the form prescribed by the superintendent and
         36   shall be issued to the applicant [in quadruplicate] electronically
         37   through e-mail or the web portal established or designated for this
         38   purpose by the superintendent or in such form or manner as may be
         39   authorized by the superintendent. Prior to the time [he] the
         40   applicant receives the handgun from the seller, the applicant shall
         41   [deliver] provide to the seller an acknowledgement of the permit in
         42   [quadruplicate] the form required under the process established by
         43   the superintendent, and the seller shall complete all of the
         44   information required on the [form] web portal. [Within five days
         45   of the date of the sale, the seller shall forward the original copy]
         46   This information shall be forwarded to the superintendent through
         47   the web portal, or in such other manner as may be authorized by the
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          1   superintendent, and [the second copy] to the chief [of] police
          2   officer of the municipality in which the purchaser resides, except
          3   that in a municipality having no chief [of] police officer, [the
          4   copy] the information shall be forwarded to the superintendent.
          5   The [third copy shall then be returned to the] purchaser [with the
          6   pistol or revolver] shall retain a copy of the completed information
          7   and the [fourth copy shall be kept by the] seller shall retain a copy
          8   of the completed information as a permanent record.
          9      A transfer of a handgun between or among immediate family
         10   members, law enforcement officers, or collectors of firearms or
         11   ammunition as curios or relics shall be conducted via the web portal
         12   established or designated by the superintendent, which shall include
         13   among other things a certification that the seller and purchaser are
         14   in fact immediate family members, law enforcement officers, or
         15   collectors of firearms or ammunition as curios or relics.
         16      (2) The requirements of this subsection concerning the delivery
         17   and form of permit and disposition of copies shall not be applicable
         18   when these functions may be completed by utilizing an electronic
         19   system as described in paragraph (2) of subsection b. of
         20   N.J.S.2C:58-2 or section 5 of P.L.2022, c.55 (C.2C:58-3.3a).
         21      i. Restriction on number of firearms person may purchase.
         22   Only one handgun shall be purchased or delivered on each permit
         23   and no more than one handgun shall be purchased within any 30-
         24   day period, but this limitation shall not apply to:
         25      (1) a federal, State, or local law enforcement officer or agency
         26   purchasing handguns for use by officers in the actual performance
         27   of their law enforcement duties;
         28      (2) a collector of handguns as curios or relics as defined in Title
         29   18, United States Code, section 921 (a) (13) who has in [his] the
         30   collector’s possession a valid Collector of Curios and Relics
         31   License issued by the federal Bureau of Alcohol, Tobacco, Firearms
         32   and Explosives;
         33      (3) transfers of handguns among licensed retail dealers,
         34   registered wholesale dealers and registered manufacturers;
         35      (4) transfers of handguns from any person to a licensed retail
         36   dealer or a registered wholesale dealer or registered manufacturer;
         37      (5) any transaction where the person has purchased a handgun
         38   from a licensed retail dealer and has returned that handgun to the
         39   dealer in exchange for another handgun within 30 days of the
         40   original transaction, provided the retail dealer reports the exchange
         41   transaction to the superintendent; or
         42      (6) any transaction where the superintendent issues an exemption
         43   from the prohibition in this subsection pursuant to the provisions of
         44   section 4 of P.L.2009, c.186 (C.2C:58-3.4).
         45      The provisions of this subsection shall not be construed to afford
         46   or authorize any other exemption from the regulatory provisions
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          1   governing firearms set forth in chapter 39 and chapter 58 of Title
          2   2C of the New Jersey Statutes;
          3      A person shall not be restricted as to the number of rifles or
          4   shotguns [he] the person may purchase, provided [he] the person
          5   possesses a valid firearms purchaser identification card and
          6   provided further that [he] the person signs the certification required
          7   in subsection b. of this section for each transaction.
          8      j. Firearms passing to heirs or legatees. Notwithstanding any
          9   other provision of this section concerning the transfer, receipt or
         10   acquisition of a firearm, a permit to purchase or a firearms
         11   purchaser identification card shall not be required for the passing of
         12   a firearm upon the death of an owner thereof to [his] the owner’s
         13   heir or legatee, whether the same be by testamentary bequest or by
         14   the laws of intestacy. The person who shall so receive, or acquire
         15   the firearm shall, however, be subject to all other provisions of this
         16   chapter. If the heir or legatee of the firearm does not qualify to
         17   possess or carry it, [he] the heir or legatee may retain ownership of
         18   the firearm for the purpose of sale for a period not exceeding 180
         19   days, or for a further limited period as may be approved by the chief
         20   law enforcement officer of the municipality in which the heir or
         21   legatee resides or the superintendent, provided that the firearm is in
         22   the custody of the chief law enforcement officer of the municipality
         23   or the superintendent during that period.
         24      k. Sawed-off shotguns. Nothing in this section shall be
         25   construed to authorize the purchase or possession of any sawed-off
         26   shotgun.
         27      l. Nothing in this section and in N.J.S.2C:58-2 shall apply to
         28   the sale or purchase of a visual distress signalling device approved
         29   by the United States Coast Guard, solely for possession on a private
         30   or commercial aircraft or any boat; provided, however, that no
         31   person under the age of 18 years shall purchase nor shall any person
         32   sell to a person under the age of 18 years a visual distress signalling
         33   device.
         34      m. The provisions of subsections a. and b. of this section and
         35   paragraphs (4) and (5) of subsection a. of N.J.S.2C:58-2 shall not
         36   apply to the purchase of firearms by a law enforcement agency for
         37   use by law enforcement officers in the actual performance of the
         38   [current or former judge's] officers’ official duties, which purchase
         39   may be made directly from a manufacturer or from a licensed dealer
         40   located in this State or any other state.
         41      n. For the purposes of this section, "immediate family" means a
         42   spouse, domestic partner as defined in section 3 of P.L.2003, c.246
         43   (C.26:8A-3), partner in a civil union couple as defined in section 2
         44   of P.L.2006, c.103 (C.37:1-29), parent, stepparent, grandparent,
         45   sibling, stepsibling, child, stepchild, and grandchild, as related by
         46   blood or by law.
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          1      o. Registration of handguns owned by new residents. Any
          2   person who becomes a resident of this State following the effective
          3   date of P.L.2022, c.52 and who transports into this State a firearm
          4   that the person owned or acquired while residing in another state
          5   shall apply for a [firearm] firearms purchaser identification card
          6   within 60 days of becoming a New Jersey resident, and shall
          7   register any handgun so transported into this State within 60 days as
          8   provided in this subsection.
          9      A person who registers a handgun pursuant to this subsection
         10   shall complete a registration statement, which shall be in a form
         11   prescribed by the superintendent. The information provided in the
         12   registration statement shall include, but shall not be limited to, the
         13   name and address of the person and the make, model, and serial
         14   number of the handgun being registered.              Each registration
         15   statement shall be signed by the person, and the signature shall
         16   constitute a representation of the accuracy of the information
         17   contained in the registration statement.
         18      The registration statement shall be submitted to the law
         19   enforcement agency of the municipality in which the person resides
         20   or, if the municipality does not have a municipal law enforcement
         21   agency, any State Police station.
         22      Within 60 days prior to the effective date of P.L.2022, c.52, the
         23   superintendent shall prepare the form of registration statement as
         24   described in this subsection and shall provide a suitable supply of
         25   statements to each organized full-time municipal police department
         26   and each State Police station.
         27      A person who fails to apply for a [firearm] firearms purchaser
         28   identification card or register a handgun as required pursuant to this
         29   subsection shall be granted 30 days to comply with the provisions
         30   of this subsection. If the person does not comply within 30 days,
         31   the person shall be liable to a civil penalty of $250 for a first
         32   offense and shall be guilty of a disorderly persons offense for a
         33   second or subsequent offense.
         34      If a person is in possession of multiple firearms or handguns in
         35   violation of this subsection, the person shall be guilty of one
         36   offense under this subsection provided the violation is a single
         37   event.
         38      The civil penalty shall be collected pursuant to the "Penalty
         39   Enforcement Law of 1999," P.L.1999, c.274 (C.2A:58-10 et seq.) in
         40   a summary proceeding before the municipal court having
         41   jurisdiction.    A law enforcement officer having enforcement
         42   authority in that municipality may issue a summons for a violation,
         43   and may serve and execute all process with respect to the
         44   enforcement of this subsection consistent with the Rules of Court.
         45      p. A chief police officer or the superintendent may delegate to
         46   subordinate officers or employees of the law enforcement agency
         47   the responsibilities established pursuant to this section.
         48   (cf: P.L.2022, c.58, s.1)
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          1      3. N.J.S.2C:58-4 is amended to read as follows:
          2      2C:58-4. a. Scope and duration of authority. Any person who
          3   holds a valid permit to carry a handgun issued pursuant to this
          4   section shall be authorized to carry a handgun in a holster concealed
          5   on their person in all parts of this State, except as prohibited by
          6   subsection e. of N.J.S.2C:39-5 and section 7 of P.L. , c. (C. )
          7   (pending before the Legislature as this bill). One permit shall be
          8   sufficient for all handguns owned by the holder thereof, but the
          9   permit shall apply only to a handgun carried by the actual and legal
         10   holder of the permit and, except as otherwise provided in subsection
         11   b. of section 6 of P.L. , c. (C.                  )(pending before the
         12   Legislature as this bill), shall not be construed to authorize a holder
         13   to carry a handgun openly, provided that a brief, incidental
         14   exposure of a handgun while transferring it to or from a holster or
         15   due to the shifting of the person’s body position or clothing shall be
         16   deemed a de minimis infraction within the contemplation of
         17   N.J.S.2C:2-11.
         18      All permits to carry handguns shall expire two years from the
         19   date of issuance or, in the case of an employee of an armored car
         20   company, upon termination of [his] the employee’s employment by
         21   the company occurring prior thereto whichever is earlier in time,
         22   and they may thereafter be renewed every two years in the same
         23   manner and subject to the same conditions as in the case of original
         24   applications.
         25      b. Application forms. All applications for permits to carry
         26   handguns, and all applications for renewal of permits, shall be made
         27   on the forms and in the manner prescribed by the superintendent.
         28   Each application shall set forth the full name, date of birth, sex,
         29   residence, occupation, place of business or employment, any aliases
         30   or other names previously used by the applicant, and physical
         31   description of the applicant, and any other information the
         32   superintendent may prescribe for the determination of the
         33   applicant's eligibility for a permit and for the proper enforcement of
         34   this chapter. The application shall be signed by the applicant under
         35   oath, and shall be [indorsed] endorsed by [three] not less than four
         36   reputable persons who are not related by blood or by law to the
         37   applicant and have known the applicant for at least three years
         38   preceding the date of application, and who shall certify thereon that
         39   the applicant [is a person of good moral character and behavior]
         40   has not engaged in any acts or made any statements that suggest the
         41   applicant is likely to engage in conduct, other than lawful self-
         42   defense, that would pose a danger to the applicant or others. The
         43   reputable persons also shall provide relevant information supporting
         44   the certification, including the nature and extent of their
         45   relationship with the applicant and information concerning their
         46   knowledge of the applicant’s use of drugs or alcohol.
         47      c. Investigation and approval. Each application shall be
         48   accompanied by a $200 application fee and shall in the first
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          1   instance be submitted to the chief police officer of the municipality
          2   in which the applicant resides, or to the superintendent [,] if: (1)
          3   [if] the applicant is an employee of an armored car company [,
          4   or] ; (2) [if] there is no chief police officer in the municipality
          5   where the applicant resides [, or] ; (3) [if] the applicant does not
          6   reside in this State; or (4) the applicant is a mayor or other elected
          7   member of the municipal governing body.
          8      In the case of an application made to the chief police officer of a
          9   municipality, $150 of the fee shall be retained by the municipality
         10   and the remaining $50 shall be forwarded to the superintendent.
         11   The fee amount retained by the municipality shall be used to defray
         12   the costs of investigation, administration, and processing of the
         13   permit to carry handgun applications. Application fees made to the
         14   superintendent shall be deposited into the Victims of Crime
         15   Compensation Office account.
         16      The chief police officer, or the superintendent, as the case may
         17   be, shall determine whether the application is complete and, if so,
         18   shall cause the fingerprints of the applicant to be taken and
         19   compared with any and all records maintained by the municipality,
         20   the county in which it is located, the State Bureau of Identification
         21   and the Federal Bureau of Identification or; for an applicant who
         22   previously submitted fingerprints in order to apply for a firearms
         23   purchaser identification card or a permit to purchase a handgun in
         24   accordance with N.J.S.2C:58-3 or a permit to carry a handgun in
         25   accordance with this section, may solicit such other identification
         26   information as may be authorized by the superintendent for the
         27   conduct of a comparable criminal record check. [He] The chief
         28   police officer or the superintendent, as the case may be, shall also
         29   determine and record a complete description of each handgun the
         30   applicant intends to carry. The chief police officer, or the
         31   superintendent, as the case may be, shall interview the applicant and
         32   the persons endorsing the application under subsection b. of this
         33   section, and shall make inquiry concerning, and investigate to the
         34   extent warranted, whether the applicant is likely to engage in
         35   conduct that would result in harm to the applicant or others,
         36   including, but not limited to, whether the applicant has any history
         37   of threats or acts of violence by the applicant directed toward self or
         38   others or any history of use, attempted use, or threatened use of
         39   physical force by the applicant against another person, or other
         40   incidents implicating the disqualifying criteria set forth in
         41   subsection c. of N.J.S.2C:58-3, including but not limited to
         42   determining whether the applicant has been subject to any recent
         43   arrests or criminal charges for disqualifying crimes or has been
         44   experiencing any mental health issues such as suicidal ideation or
         45   violent impulses, and the applicant’s use of drugs or alcohol.
         46      The chief police officer or the superintendent may require such
         47   other information from the applicant or any other person, including
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          1   but not limited to publicly available statements posted or published
          2   online by the applicant, as the chief police officer or superintendent
          3   deems reasonably necessary to conduct the review of the
          4   application.
          5      [No] An application shall not be approved by the chief police
          6   officer or the superintendent unless the applicant demonstrates that
          7   [he] the applicant is not subject to any of the disabilities set forth
          8   in subsection c. of N.J.S.2C:58-3, that [he] the applicant is
          9   thoroughly familiar with the safe handling and use of handguns,
         10   including providing proof of completion of any training or
         11   proficiency requirements established under the law, and that [he
         12   has a justifiable need to carry a handgun] the applicant is in
         13   compliance with the liability insurance requirement of section 4 of
         14   P.L. , c. (C. )(pending before the Legislature as this bill).
         15      [Each application form shall be accompanied by a written
         16   certification of justifiable need to carry a handgun, which shall be
         17   under oath and, in the case of a private citizen, shall specify in
         18   detail the urgent necessity for self-protection, as evidenced by
         19   specific threats or previous attacks which demonstrate a special
         20   danger to the applicant's life that cannot be avoided by means other
         21   than by issuance of a permit to carry a handgun. Where possible,
         22   the applicant shall corroborate the existence of any specific threats
         23   or previous attacks by reference to reports of the incidents to the
         24   appropriate law enforcement agencies.
         25      If] Once the application is [not approved] deemed complete by
         26   the chief police officer or the superintendent , if it is not approved
         27   or denied by the chief police officer or the superintendent within
         28   [60] 90 days of filing, it shall be deemed to have been approved
         29   [unless the applicant agrees]; provided, however, the chief police
         30   officer or the superintendent may, for good cause shown and upon
         31   written notification to the applicant, extend by up to an additional
         32   30 days the time period for which the application may be approved
         33   or denied. The written notification sent to the applicant shall
         34   provide a detailed explanation of the reasons for the extension. An
         35   applicant also may agree in writing to an additional extension of
         36   time [in writing] past the 120 day statutory time frame.
         37      A chief police officer or the superintendent may delegate to
         38   subordinate officers or employees of the law enforcement agency
         39   the responsibilities established pursuant to this section.
         40      d. Issuance [by Superior Court; fee] of permit; establishment
         41   of web portal; disposition of completed information. If the
         42   application has been approved by the chief police officer or the
         43   superintendent, as the case may be, the [applicant shall forthwith
         44   present it to the Superior Court of the county in which the applicant
         45   resides, or to the Superior Court in any county where he intends to
         46   carry a handgun, in the case of a nonresident or employee of an
         47   armored car company. The court shall] chief police officer or the
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          1   superintendent shall issue the permit to the applicant in the form
          2   prescribed by the superintendent.
          3      The permit shall be issued to the applicant electronically through
          4   electronic mail or through the web portal established or designated
          5   for this purpose by the superintendent, or in such form or manner as
          6   may be authorized by the superintendent, if, but only if, [it is
          7   satisfied] the chief police officer or superintendent determines that
          8   the applicant:
          9      (1) [is a person of good character] has not engaged in any acts
         10   or made any statements that suggest the applicant is likely to
         11   engage in conduct, other than lawful self-defense, that would pose a
         12   danger to the applicant or others and [who] is not subject to any of
         13   the disabilities set forth in subsection c. of N.J.S.2C:58-3 [, that he
         14   is] ;
         15      (2) is thoroughly familiar with the safe handling and use of
         16   handguns [,] ; [and that he has a justifiable need to carry a
         17   handgun in accordance with the provisions of subsection c. of this
         18   section. The court may at its discretion issue a limited-type permit
         19   which would restrict the applicant as to the types of handguns he
         20   may carry and where and for what purposes the handguns may be
         21   carried]
         22      (3) has completed the training requirements established pursuant
         23   to subsection g. of this section, provided that any requirement for
         24   classroom instruction and target training shall not be required for a
         25   renewal applicant who completed the instruction and training when
         26   obtaining a permit to carry a handgun issued within the previous
         27   two years; and
         28      (4) is in compliance with the liability insurance requirement of
         29   section 4 of P.L. , c. (C. )(pending before the Legislature as this
         30   bill).
         31      [At the time of issuance, the applicant shall pay to the county
         32   clerk of the county where the permit was issued a permit fee of
         33   $20.]
         34      The provisions of this section requiring the issuance of a permit to
         35   carry a handgun utilizing the web portal established pursuant to this
         36   subsection and requiring the superintendent or chief police officer to
         37   determine that an applicant has completed the training requirement
         38   pursuant to subsection c. of this section and paragraph (3) of this
         39   subsection and is in compliance with the liability insurance
         40   requirements pursuant to subsection c. of this section and paragraph
         41   (4) of this subsection shall remain inoperative until the first day of the
         42   seventh month next following the date of enactment of P.L.               ,
         43   c. (C. ) (pending before the Legislature as this bill).
         44      e. Appeals from denial of applications. An applicant who is
         45   denied a permit to carry a handgun shall be provided with a written
         46   statement of the reasons for the denial. Any [person] applicant
         47   aggrieved by the denial by the chief police officer or the
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          1   superintendent of approval for a permit to carry a handgun may
          2   request a hearing in the Superior Court of the county in which [he]
          3   the applicant resides or in any county in which [he] the applicant
          4   intends to carry a handgun, in the case of a nonresident, by filing a
          5   written request for a hearing within 30 days of the denial. [Copies]
          6   The aggrieved applicant shall serve copies of the request [shall be
          7   served] upon the superintendent, the county prosecutor, and the
          8   chief police officer of the municipality where the applicant resides,
          9   if [he] the applicant is a resident of this State. The hearing shall be
         10   held within [30] 60 days of the filing of the request, and no formal
         11   pleading or filing fee shall be required. Appeals from the
         12   determination at the hearing shall be in accordance with law and the
         13   rules governing the courts of this State.
         14      [If the superintendent or chief police officer approves an
         15   application and the Superior Court denies the application and
         16   refuses to issue a permit, the applicant may appeal the denial in
         17   accordance with law and the rules governing the courts of this
         18   State.]
         19      The Administrative Director of the Courts shall coordinate with
         20   the superintendent in the development of an electronic filing system
         21   to receive requests for hearings and serve the chief police officer
         22   and superintendent as required in this section.
         23      f. Revocation of permits. Any permit issued under this section
         24   shall be void at the time the holder thereof becomes subject to any
         25   of the disabilities set forth in subsection c. of N.J.S.2C:58-3, and
         26   the holder of a void permit shall immediately surrender the permit
         27   to the superintendent who shall give notice to the licensing
         28   authority. Any permit may be revoked by the Superior Court, after
         29   hearing upon notice to the holder, if the court finds that the holder
         30   is no longer qualified for the issuance of a permit. The county
         31   prosecutor of any county, the chief police officer of any
         32   municipality, the superintendent, or any citizen may apply to the
         33   court at any time for the revocation of any permit issued pursuant to
         34   this section.
         35      g. Training requirement. (1) On or prior to the first day of the
         36   seventh month following the enactment of P.L. , c.             (C.     )
         37   (pending before the Legislature as this bill), the superintendent shall
         38   establish training requirements in the lawful and safe handling and
         39   storage of firearms , which shall consist of an online course of
         40   instruction, in-person classroom instruction, and target training
         41   administered by a certified firearm instructor on a firing range
         42   approved by the superintendent and on the list of approved ranges
         43   published on the State Police website. The training shall include, but
         44   not be limited to, demonstration of a level of proficiency in the use of
         45   a handgun in such manner as required by the superintendent and
         46   training, developed or approved in conjunction with the Police
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          1   Training Commission, on justification in the use of deadly force
          2   under State law.
          3      (2) A person who obtained a permit pursuant to this section prior to
          4   the first day of the seventh month following the date of enactment
          5   of P.L. , c. (C. ) (pending before the Legislature as this bill) and
          6   which permit is not scheduled to expire until at least one year
          7   following the enactment of P.L.     , c.  (C. ) (pending before the
          8   Legislature as this bill) shall comply with the training requirement
          9   established pursuant to this subsection no later than the first day of
         10   the tenth month following the date of enactment of P.L.                ,
         11   c. (C. ) (pending before the Legislature as this bill).
         12      h. For purposes of this section, “holster” means a device or
         13   sheath that securely retains a handgun which, at a minimum,
         14   conceals and protects the main body of the firearm, maintains the
         15   firearm in a consistent and accessible position, and renders the
         16   trigger covered and inaccessible while the handgun is fully seated in
         17   the holster.
         18   (cf: P.L.2018, c.37, s.1)
         19
         20      4. (New section) a. Every private citizen who carries a
         21   handgun in public in this State shall maintain liability insurance
         22   coverage insuring against loss resulting from liability imposed by
         23   law for bodily injury, death, and property damage sustained by any
         24   person arising out of the ownership, maintenance, operation or use
         25   of a firearm carried in public wherein such coverage shall be at least
         26   in an amount or limit of $300,000, exclusive of interest and costs,
         27   on account of injury to or death of more than one person and for
         28   damage to property, in any one incident.
         29      b. Proof of liability insurance, as required pursuant to
         30   subsection a. of this section, shall be produced by the person
         31   carrying a handgun in public, within a reasonable amount of time
         32   following any injury, death, or property damage alleged to have
         33   been caused by the person carrying the handgun in public. This
         34   requirement shall be satisfied by delivering a full and complete
         35   copy of the applicable policy or policies of insurance that meet the
         36   standards established by subsection a. of this section and that were
         37   in force at the time of the injury, death, or property damage.
         38      Notwithstanding the provisions of this subsection, disclosure of
         39   policy information under this section shall not constitute an
         40   admission that the alleged injury, death, or property damage is
         41   subject to the policy.
         42      Information concerning the insurance policy shall not be
         43   admissible as evidence at trial by reason of disclosure pursuant to
         44   this subsection. The disclosure shall be confidential and available
         45   only to the injured person, representative of the decedent, or owner
         46   of damaged property and the attorney representing the injured
         47   person, representative of the decedent, or owner of damaged
         48   property and personnel in the office of the attorney.
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          1      c. A violation of this section shall be a crime of the fourth
          2   degree and shall constitute full and sufficient grounds for
          3   revocation of a permit to carry a handgun issued pursuant to
          4   N.J.S.2C:58-4.
          5
          6      5. (New section) Safe carry requirements for authorized
          7   holders of a permit to carry a handgun.
          8      a. The holder of a permit to carry a handgun issued pursuant to
          9   N.J.S.2C:58-4 shall not:
         10      (1) use or consume alcohol, a cannabis item, or a controlled
         11   substance while carrying a handgun;
         12      (2) be under the influence of alcohol, cannabis, or a controlled
         13   substance while carrying a handgun;
         14      (3) carry a handgun in public outside of a holster or carry a
         15   handgun in public in a holster that does not meet the requirements
         16   of subsection h. of N.J.S.2C:58-4;
         17       (4) carry more than two firearms under the permittee’s control at
         18   one time; or
         19      (5) engage in an unjustified display of a handgun.
         20      A violation of this subsection shall be a crime of the fourth
         21   degree, and any such violation shall constitute full and sufficient
         22   grounds for revocation of a permit to carry a handgun issued
         23   pursuant to N.J.S.2C:58-4.
         24      b. The holder of a permit to carry a handgun issued pursuant to
         25   N.J.S.2C:58-4, if stopped or detained by a law enforcement officer
         26   while carrying a handgun in public or traveling with a handgun in a
         27   motor vehicle, shall:
         28      (1) immediately disclose to the law enforcement officer that they
         29   are carrying a handgun or that a handgun is stored in the vehicle;
         30   and
         31      (2) display the permit to carry a handgun issued pursuant to
         32   N.J.S.2C:58-4.
         33      A violation of paragraph (1) of this section shall be a crime of
         34   the fourth degree. A person who violates paragraph (2) of this
         35   subsection shall be guilty of a disorderly persons offense for a first
         36   offense and subject to a $100 fine and a crime of the fourth degree
         37   for a second or subsequent offense.
         38      c. A holder of a permit to carry a handgun issued pursuant to
         39   N.J.S.2C:58-4 who is carrying a handgun in public and is detained
         40   by a law enforcement officer as part of a criminal investigation
         41   shall provide the handgun to the law enforcement officer upon
         42   request for purposes of inspecting the handgun. The provisions of
         43   this subsection shall not be construed to affect or otherwise limit the
         44   authority of a law enforcement officer to conduct a lawful search or
         45   seizure.
         46      A violation of this subsection shall be a crime of the fourth
         47   degree.
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          1      6. (New section) Requirements and restrictions on the lawful
          2   carrying of a handgun in public.
          3      Except as permitted pursuant to N.J.S.2C:39-6, in addition to any
          4   criminal penalties under subsection b. of N.J.S.2C:39-5, sections 5
          5   and 7 of P.L. , c. (C. )(pending before the Legislature as this
          6   bill), or any other law, it shall be a crime of the fourth degree for
          7   any person in a public place:
          8      a. to carry a handgun concealed on or about their person,
          9   except as permitted in accordance with N.J.S.2C:39-6, without
         10   possessing on their person a valid and lawfully issued permit to
         11   carry under N.J.S.2C:58-4 and proof of the liability insurance
         12   required pursuant to section 4 of P.L. ,   c. (C. )(pending before
         13   the Legislature as this bill); or
         14      b. to carry a handgun openly, whether or not in possession of a
         15   valid and lawfully issued permit to carry under N.J.S.2C:58-4 and
         16   proof of the liability insurance required pursuant to section 4 of
         17   P.L. , c. (C. )(pending before the Legislature as this bill).
         18
         19      7. (New section) Places where the carrying of a firearm or
         20   destructive device is prohibited.
         21      a. Except as otherwise provided in this section and in the case
         22   of a brief, incidental entry onto property, which shall be deemed a
         23   de minimis infraction within the contemplation of N.J.S.2C:2-11, it
         24   shall be a crime of the third degree for any person, other than a
         25   person lawfully carrying a firearm within the authorized scope of an
         26   exemption set forth in N.J.S.2C:39-6, to knowingly carry a firearm as
         27   defined in subsection f. of N.J.S.2C:39-1 and a crime of the second
         28   degree to knowingly possess a destructive device as defined in
         29   subsection c. of N.J.S.2C:39-1 in any of the following places,
         30   including in or upon any part of the buildings, grounds, or parking
         31   area of:
         32      (1) a place owned, leased, or under the control of State, county
         33   or municipal government used for the purpose of government
         34   administration, including but not limited to police stations;
         35      (2) a courthouse, courtroom, or any other premises used to
         36   conduct judicial or court administrative proceedings or functions;
         37      (3) a State, county, or municipal correctional or juvenile justice
         38   facility, jail and any other place maintained by or for a
         39   governmental entity for the detention of criminal suspects or
         40   offenders;
         41      (4) a State-contracted half-way house;
         42      (5) a location being used as a polling place during the conduct of
         43   an election and places used for the storage or tabulation of ballots;
         44      (6) within 100 feet of a place where a public gathering,
         45   demonstration or event is held for which a government permit is
         46   required, during the conduct of such gathering, demonstration or
         47   event;
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          1      (7) a school, college, university or other educational institution,
          2   and on any school bus;
          3      (8) a child care facility, including a day care center;
          4      (9) a nursery school, pre-school, zoo, or summer camp;
          5      (10) a park, beach, recreation facility or area or playground
          6   owned or controlled by a State, county or local government unit, or
          7   any part of such a place, which is designated as a gun free zone by
          8   the governing authority based on considerations of public safety;
          9      (11) youth sports events, as defined in N.J.S.5:17-1, during and
         10   immediately preceding and following the conduct of the event,
         11   except that this provision shall not apply to participants of a youth
         12   sports event which is a firearm shooting competition to which
         13   paragraph (3) of subsection b. of section 14 of P.L.1979, c.179
         14   (C.2C:58-6.1) applies;
         15      (12) a publicly owned or leased library or museum;
         16      (13) a shelter for the homeless, emergency shelter for the
         17   homeless, basic center shelter program, shelter for homeless or
         18   runaway youth, children’s shelter, child care shelter, shelter for
         19   victims of domestic violence, or any shelter licensed by or under the
         20   control of the Juvenile Justice Commission or the Department of
         21   Children and Families;
         22      (14) a community residence for persons with developmental
         23   disabilities, head injuries, or terminal illnesses, or any other
         24   residential setting licensed by the Department of Human Services or
         25   Department of Health;
         26      (15) a bar or restaurant where alcohol is served, and any other
         27   site or facility where alcohol is sold for consumption on the
         28   premises;
         29      (16) a Class 5 Cannabis retailer or medical cannabis dispensary,
         30   including any consumption areas licensed or permitted by the
         31   Cannabis Regulatory Commission established pursuant to section
         32   31 of P.L.2019, c.153 (C.24:6I-24);
         33      (17) a privately or publicly owned and operated entertainment
         34   facility within this State, including but not limited to a theater,
         35   stadium, museum, arena, racetrack or other place where
         36   performances, concerts, exhibits, games or contests are held;
         37      (18) a casino and related facilities, including but not limited to
         38   appurtenant hotels, retail premises, restaurant and bar facilities, and
         39   entertainment and recreational venues located within the casino
         40   property;
         41      (19) a plant or operation that produces, converts, distributes or
         42   stores energy or converts one form of energy to another;
         43      (20) an airport or public transportation hub;
         44      (21) a health care facility, including but not limited to a general
         45   hospital, special hospital, psychiatric hospital, public health center,
         46   diagnostic center, treatment center, rehabilitation center, extended
         47   care facility, skilled nursing home, nursing home, intermediate care
         48   facility, tuberculosis hospital, chronic disease hospital, maternity
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          1   hospital, outpatient clinic, dispensary, assisted living center, home
          2   health care agency, residential treatment facility, residential health
          3   care facility, medical office, or ambulatory care facility;
          4       (22) a facility licensed or regulated by the Department of Human
          5   Services, Department of Children and Families, or Department of
          6   Health, other than a health care facility, that provides addiction or
          7   mental health treatment or support services;
          8       (23) a public location being used for making motion picture or
          9   television images for theatrical, commercial or educational
         10   purposes, during the time such location is being used for that
         11   purpose;
         12       (24) private property, including but not limited to residential,
         13   commercial, industrial, agricultural, institutional or undeveloped
         14   property, unless the owner has provided express consent or has
         15   posted a sign indicating that it is permissible to carry on the
         16   premises a concealed handgun with a valid and lawfully issued
         17   permit under N.J.S.2C:58-4, provided that nothing in this paragraph
         18   shall be construed to affect the authority to keep or carry a firearm
         19   established under subsection e. of N.J.S.2C:39-6; and
         20       (25) any other place in which the carrying of a firearm is
         21   prohibited by statute or rule or regulation promulgated by a federal
         22   or State agency.
         23       b. (1) A person, other than a person lawfully carrying a firearm
         24   within the authorized scope of an exemption set forth in subsection
         25   a., c., or l. of N.J.S.2C:39-6, who is otherwise authorized under the
         26   law to carry or transport a firearm shall not do so while in a vehicle
         27   in New Jersey, unless the handgun is unloaded and contained in a
         28   closed and securely fastened case, gunbox, or locked unloaded in
         29   the trunk of the vehicle.
         30       (2) A holder of a valid and lawfully issued permit to carry a
         31   handgun shall not leave a handgun outside of their immediate
         32   possession or control within a parked vehicle, unless the handgun is
         33   unloaded and contained in a closed and securely fastened case, or
         34   gunbox, and is not visible from outside of the vehicle, or is locked
         35   unloaded in the trunk or storage area of the vehicle.
         36       A violation of paragraph (1) or (2) of this subsection is a crime
         37   of the fourth degree.
         38       c. Notwithstanding the provisions of subsections a. and b. of
         39   this section, the holder of a valid and lawfully issued permit to carry
         40   under N.J.S.2C:58-4 who is otherwise prohibited under this section
         41   from carrying a concealed firearm into the parking area of a
         42   prohibited location specified in subsection a. of this section shall be
         43   permitted to:
         44       (1) transport a concealed handgun or ammunition within a
         45   vehicle into or out of the parking area, provided that the handgun is
         46   unloaded and contained in a closed and securely fastened case,
         47   gunbox, or locked unloaded in the trunk or storage area of the
         48   vehicle;
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          1      (2) store a handgun or ammunition within a locked lock box and
          2   out of plain view within the vehicle in the parking area;
          3       (3) transport a concealed handgun in the immediate area
          4   surrounding their vehicle within a prohibited parking lot area only
          5   for the limited purpose of storing or retrieving the handgun within a
          6   locked lock box in the vehicle’s trunk or other place inside the
          7   vehicle that is out of plain view; and
          8      (4) transport a concealed handgun between a vehicle parked
          9   within a prohibited parking lot area and a place other than a
         10   prohibited place enumerated in subsection a. of this section,
         11   provided that the person immediately leaves the parking lot area
         12   and does not enter into or on the grounds of the prohibited place
         13   with the handgun.
         14      d. The holder of a valid and lawfully issued permit to carry
         15   under N.J.S.2C:58-4 shall not be in violation of subsection a. of this
         16   section while the holder is traveling along a public right-of-way that
         17   touches or crosses any of the places enumerated in subsection a. of
         18   this section if the concealed handgun is carried on their person in
         19   accordance with the provisions of this act or is being transported in
         20   a vehicle by the permit holder in accordance with all other
         21   applicable provisions of law.
         22      e. (1) Nothing in this act shall be construed to prohibit the
         23   holder of a valid and lawfully issued permit under N.J.S.2C:58-4
         24   who is lawfully authorized to provide security at a place
         25   enumerated in subsection a. of this section from carrying a firearm,
         26   openly or concealed, provided that the authorization is set forth in
         27   writing, and only to the extent permitted by the entity responsible
         28   for security at the place in question.
         29      (2) Unless otherwise required or prohibited by law, the owner or
         30   entity in control of any place enumerated in subsection a. of this
         31   section or owner or entity responsible for providing security may
         32   allow or prohibit retired law enforcement officers who are
         33   authorized to possess and carry a handgun pursuant to subsection l.
         34   of N.J.S.2C:39-6 or qualified retired law enforcement officers
         35   within the meaning of the federal “Law Enforcement Officers
         36   Safety Act of 2004,” Pub.L. 108-277 to carry a concealed handgun
         37   on the premises of such place.
         38      f. Nothing in this section shall be construed to prohibit an
         39   employee of an armored car company who is the holder of a valid
         40   and lawfully issued permit to carry a handgun issued pursuant to
         41   N.J.S.2C:58-4 who is contractually authorized to provide services
         42   for a client at a place enumerated in subsection a. of this section
         43   from carrying a firearm, openly, in the regular course of
         44   employment.
         45      g. Nothing in this section shall prohibit the carrying or
         46   transporting of a firearm in accordance with subsections e. and f. of
         47   N.J.S.2C:39-6 or where it is otherwise expressly authorized by law.
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          1      8. N.J.S.2C:39-6 is amended to read as follows:
          2      2C:39-6. a. Provided a person complies with the requirements
          3   of subsection j. of this section, N.J.S.2C:39-5 does not apply to:
          4      (1) Members of the Armed Forces of the United States or of the
          5   National Guard while actually on duty, or while traveling between
          6   places of duty and carrying authorized weapons in the manner
          7   prescribed by the appropriate military authorities;
          8      (2) Federal law enforcement officers, and any other federal
          9   officers and employees required to carry firearms in the
         10   performance of their official duties;
         11      (3) Members of the State Police and, under conditions
         12   prescribed by the superintendent, members of the Marine Law
         13   Enforcement Bureau of the Division of State Police;
         14      (4) A sheriff, undersheriff, sheriff's officer, [county prosecutor,
         15   assistant prosecutor,] prosecutor's detective or investigator, [deputy
         16   attorney general or] State investigator employed by the Division of
         17   Criminal Justice of the Department of Law and Public Safety,
         18   investigator employed by the State Commission of Investigation,
         19   inspector of the Alcoholic Beverage Control Enforcement Bureau of
         20   the Division of State Police in the Department of Law and Public
         21   Safety authorized to carry weapons by the Superintendent of State
         22   Police, State park police officer, or State conservation police
         23   officer;
         24      (5) Except as hereinafter provided, a State correctional police
         25   officer, or a prison or jail warden of any penal institution in this
         26   State or the warden's deputies, or an employee of the Department of
         27   Corrections engaged in the interstate transportation of convicted
         28   offenders, while in the performance of the employee's duties, and
         29   when required to possess the weapon by a superior officer, or a
         30   correctional police officer or keeper of a penal institution in this
         31   State at all times while in the State of New Jersey, provided the
         32   person annually passes an examination approved by the
         33   superintendent testing the person's proficiency in the handling of
         34   firearms;
         35      (6) A civilian employee of the United States Government under
         36   the supervision of the commanding officer of any post, camp,
         37   station, base or other military or naval installation located in this
         38   State who is required, in the performance of the employee's official
         39   duties, to carry firearms, and who is authorized to carry firearms by
         40   the commanding officer, while in the actual performance of the
         41   employee's official duties;
         42      (7) (a) A regularly employed member, including a detective, of
         43   the police department of any county or municipality, or of any
         44   State, interstate, municipal or county park police force or boulevard
         45   police force, at all times while in the State of New Jersey;
         46      (b) A special law enforcement officer authorized to carry a
         47   weapon as provided in subsection b. of section 7 of P.L.1985, c.439
         48   (C.40A:14-146.14);
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          1      (c) An airport security officer or a special law enforcement
          2   officer appointed by the governing body of any county or
          3   municipality, except as provided in subparagraph (b) of this
          4   paragraph, or by the commission, board or other body having
          5   control of a county park or airport or boulevard police force, while
          6   engaged in the actual performance of the officer's official duties and
          7   when specifically authorized by the governing body to carry
          8   weapons;
          9      (8) A full-time, paid member of a paid or part-paid fire
         10   department or force of any municipality who is assigned full-time
         11   or part-time to an arson investigation unit created pursuant to
         12   section 1 of P.L.1981, c.409 (C.40A:14-7.1) or to the county arson
         13   investigation unit in the county prosecutor's office, while either
         14   engaged in the actual performance of arson investigation duties or
         15   while actually on call to perform arson investigation duties and
         16   when specifically authorized by the governing body or the county
         17   prosecutor, as the case may be, to carry weapons. Prior to being
         18   permitted to carry a firearm, a member shall take and successfully
         19   complete a firearms training course administered by the Police
         20   Training Commission pursuant to P.L.1961, c.56 (C.52:17B-66 et
         21   seq.), and shall annually qualify in the use of a revolver or similar
         22   weapon prior to being permitted to carry a firearm;
         23      (9) A juvenile correctional police officer in the employment of
         24   the Juvenile Justice Commission established pursuant to section 2
         25   of P.L.1995, c.284 (C.52:17B-170) subject to the regulations
         26   promulgated by the commission;
         27      (10) A designated employee or designated licensed agent for a
         28   nuclear power plant under license of the Nuclear Regulatory
         29   Commission, while in the actual performance of the person's
         30   official duties, if the federal licensee certifies that the designated
         31   employee or designated licensed agent is assigned to perform site
         32   protection, guard, armed response or armed escort duties and is
         33   appropriately trained and qualified, as prescribed by federal
         34   regulation, to perform those duties. Any firearm utilized by an
         35   employee or agent for a nuclear power plant pursuant to this
         36   paragraph shall be returned each day at the end of the employee's or
         37   agent's authorized official duties to the employee's or agent's
         38   supervisor. All firearms returned each day pursuant to this
         39   paragraph shall be stored in locked containers located in a secure
         40   area;
         41      (11) A county correctional police officer at all times while in the
         42   State of New Jersey, provided the officer annually passes an
         43   examination approved by the superintendent testing the officer's
         44   proficiency in the handling of firearms;
         45      (12) A county prosecutor, assistant prosecutor, federal
         46   prosecutor, municipal prosecutor, Attorney General, assistant
         47   attorney general, deputy attorney general and federal, State, county,
         48   or municipal court judge, including a judge of the Tax Court and
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          1   any other court of limited jurisdiction established, altered, or
          2   abolished by law, a judge of the Office of Administrative Law, a
          3   judge of the Division of Workers’ Compensation at all times while
          4   in this State. Prior to being permitted to carry a firearm, a person
          5   subject to this paragraph shall take and successfully complete a
          6   firearms training course administered by the Police Training
          7   Commission pursuant to P.L.1961, c.56 (C.52:17B-66 et seq.), and
          8   shall annually qualify in the use of a handgun or similar weapon
          9   prior to being permitted to carry a firearm. The superintendent may
         10   issue identification cards indicating that such a person is permitted
         11   to carry a handgun pursuant to this paragraph.
         12       b. Subsections a., b. and c. of N.J.S.2C:39-5 do not apply to:
         13       (1) A law enforcement officer employed by a governmental
         14   agency outside of the State of New Jersey while actually engaged in
         15   the officer's official duties, provided, however, that the officer has
         16   first notified the superintendent or the chief law enforcement officer
         17   of the municipality or the prosecutor of the county in which the
         18   officer is engaged; or
         19       (2) A licensed dealer in firearms and the dealer's registered
         20   employees during the course of their normal business while
         21   traveling to and from their place of business and other places for the
         22   purpose of demonstration, exhibition or delivery in connection with
         23   a sale, provided, however, that the weapon is carried in the manner
         24   specified in subsection g. of this section.
         25       c. Provided a person complies with the requirements of
         26   subsection j. of this section, subsections b. and c. of N.J.S.2C:39-5
         27   do not apply to:
         28       (1) A special agent of the Division of Taxation who has passed
         29   an examination in an approved police training program testing
         30   proficiency in the handling of any firearm which the agent may be
         31   required to carry, while in the actual performance of the agent's
         32   official duties and while going to or from the agent's place of duty,
         33   or any other police officer, while in the actual performance of the
         34   officer's official duties;
         35       (2) A State deputy conservation police officer or a full-time
         36   employee of the Division of Parks and Forestry having the power of
         37   arrest and authorized to carry weapons, while in the actual
         38   performance of the officer's official duties;
         39       (3) (Deleted by amendment, P.L.1986, c.150.)
         40       (4) A court attendant appointed by the sheriff of the county or
         41   by the judge of any municipal court or other court of this State,
         42   while in the actual performance of the attendant's official duties;
         43       (5) A guard employed by any railway express company, banking
         44   or building and loan or savings and loan institution of this State,
         45   while in the actual performance of the guard's official duties;
         46       (6) A member of a legally recognized military organization
         47   while actually under orders or while going to or from the prescribed
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          1   place of meeting and carrying the weapons prescribed for drill,
          2   exercise or parade;
          3      (7) A municipal humane law enforcement officer, authorized
          4   pursuant to subsection d. of section 25 of P.L.2017, c.331 (C.4:22-
          5   14.1), or humane law enforcement officer of a county society for
          6   the prevention of cruelty to animals authorized pursuant to
          7   subsection c. of section 29 of P.L.2017, c.331 (C.4:22-14.5), while
          8   in the actual performance of the officer's duties;
          9      (8) An employee of a public utilities corporation actually
         10   engaged in the transportation of explosives;
         11      (9) A railway policeman, except a transit police officer of the
         12   New Jersey Transit Police Department, at all times while in the
         13   State of New Jersey, provided that the person has passed an
         14   approved police academy training program consisting of at least
         15   280 hours. The training program shall include, but need not be
         16   limited to, the handling of firearms, community relations, and
         17   juvenile relations;
         18      (10) A campus police officer appointed under P.L.1970, c.211
         19   (C.18A:6-4.2 et seq.) at all times. Prior to being permitted to carry
         20   a firearm, a campus police officer shall take and successfully
         21   complete a firearms training course administered by the Police
         22   Training Commission, pursuant to P.L.1961, c.56 (C.52:17B-66 et
         23   seq.), and shall annually qualify in the use of a revolver or similar
         24   weapon prior to being permitted to carry a firearm;
         25      (11) (Deleted by amendment, P.L.2003, c.168).
         26      (12) A transit police officer of the New Jersey Transit Police
         27   Department, at all times while in the State of New Jersey, provided
         28   the officer has satisfied the training requirements of the Police
         29   Training Commission, pursuant to subsection c. of section 2 of
         30   P.L.1989, c.291 (C.27:25-15.1);
         31      (13) A parole officer employed by the State Parole Board at all
         32   times. Prior to being permitted to carry a firearm, a parole officer
         33   shall take and successfully complete a basic course for regular
         34   police officer training administered by the Police Training
         35   Commission, pursuant to P.L.1961, c.56 (C.52:17B-66 et seq.), and
         36   shall annually qualify in the use of a revolver or similar weapon
         37   prior to being permitted to carry a firearm;
         38      (14) A Human Services police officer at all times while in the
         39   State of New Jersey, as authorized by the Commissioner of Human
         40   Services;
         41      (15) A person or employee of any person who, pursuant to and as
         42   required by a contract with a governmental entity, supervises or
         43   transports persons charged with or convicted of an offense;
         44      (16) A housing authority police officer appointed under
         45   P.L.1997, c.210 (C.40A:14-146.19 et al.) at all times while in the
         46   State of New Jersey; or
         47      (17) A probation officer assigned to the "Probation Officer
         48   Community Safety Unit" created by section 2 of P.L.2001, c.362
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          1   (C.2B:10A-2) while in the actual performance of the probation
          2   officer's official duties. Prior to being permitted to carry a firearm,
          3   a probation officer shall take and successfully complete a basic
          4   course for regular police officer training administered by the Police
          5   Training Commission, pursuant to P.L.1961, c.56 (C.52:17B-66 et
          6   seq.), and shall annually qualify in the use of a revolver or similar
          7   weapon prior to being permitted to carry a firearm.
          8      d. (1) Subsections c. and d. of N.J.S.2C:39-5 do not apply to
          9   antique firearms, provided that the antique firearms are unloaded or
         10   are being fired for the purposes of exhibition or demonstration at an
         11   authorized target range or in another manner approved in writing by
         12   the chief law enforcement officer of the municipality in which the
         13   exhibition or demonstration is held, or if not held on property under
         14   the control of a particular municipality, the superintendent.
         15      (2) Subsection a. of N.J.S.2C:39-3 and subsection d. of
         16   N.J.S.2C:39-5 do not apply to an antique cannon that is capable of
         17   being fired but that is unloaded and immobile, provided that the
         18   antique cannon is possessed by (a) a scholastic institution, a
         19   museum, a municipality, a county or the State, or (b) a person who
         20   obtained a firearms purchaser identification card as specified in
         21   N.J.S.2C:58-3.
         22      (3) Subsection a. of N.J.S.2C:39-3 and subsection d. of
         23   N.J.S.2C:39-5 do not apply to an unloaded antique cannon that is
         24   being transported by one eligible to possess it, in compliance with
         25   regulations the superintendent may promulgate, between its
         26   permanent location and place of purchase or repair.
         27      (4) Subsection a. of N.J.S.2C:39-3 and subsection d. of
         28   N.J.S.2C:39-5 do not apply to antique cannons that are being loaded
         29   or fired by one eligible to possess an antique cannon, for purposes
         30   of exhibition or demonstration at an authorized target range or in
         31   the manner as has been approved in writing by the chief law
         32   enforcement officer of the municipality in which the exhibition or
         33   demonstration is held, or if not held on property under the control
         34   of a particular municipality, the superintendent, provided that
         35   performer has given at least 30 days' notice to the superintendent.
         36      (5) Subsection a. of N.J.S.2C:39-3 and subsection d. of
         37   N.J.S.2C:39-5 do not apply to the transportation of unloaded
         38   antique cannons directly to or from exhibitions or demonstrations
         39   authorized under paragraph (4) of subsection d. of this section,
         40   provided that the transportation is in compliance with safety
         41   regulations the superintendent may promulgate. Those subsections
         42   shall not apply to transportation directly to or from exhibitions or
         43   demonstrations authorized under the law of another jurisdiction,
         44   provided that the superintendent has been given 30 days' notice and
         45   that the transportation is in compliance with safety regulations the
         46   superintendent may promulgate.
         47      e. Nothing in subsections b., c., and d. of N.J.S.2C:39-5 shall
         48   be construed to prevent a person keeping or carrying about the
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          1   person's place of business, residence, premises or other land owned
          2   or possessed by the person, any firearm, or from carrying the same,
          3   in the manner specified in subsection g. of this section, from any
          4   place of purchase to the person's residence or place of business,
          5   between the person's dwelling and place of business, between one
          6   place of business or residence and another when moving, or
          7   between the person's dwelling or place of business and place where
          8   the firearms are repaired, for the purpose of repair. For the
          9   purposes of this section, a place of business shall be deemed to be a
         10   fixed location.
         11      f. Nothing in subsections b., c., and d. of N.J.S.2C:39-5 shall
         12   be construed to prevent:
         13      (1) A member of any rifle or pistol club organized in accordance
         14   with the rules prescribed by the National Board for the Promotion
         15   of Rifle Practice, in going to or from a place of target practice,
         16   carrying firearms necessary for target practice, provided that the
         17   club has filed a copy of its charter with the superintendent and
         18   annually submits a list of its members to the superintendent and
         19   provided further that the firearms are carried in the manner
         20   specified in subsection g. of this section;
         21      (2) A person carrying a firearm or knife in the woods or fields
         22   or upon the waters of this State for the purpose of hunting, target
         23   practice or fishing, provided that the firearm or knife is legal and
         24   appropriate for hunting or fishing purposes in this State and the
         25   person has in [his] the person’s possession a valid hunting license,
         26   or, with respect to fresh water fishing, a valid fishing license;
         27      (3) A person transporting any firearm or knife while traveling:
         28      (a) Directly to or from any place for the purpose of hunting or
         29   fishing, provided the person has in the person’s possession a valid
         30   hunting or fishing license; or
         31      (b) Directly to or from any target range, or other authorized
         32   place for the purpose of practice, match, target, trap or skeet
         33   shooting exhibitions, provided in all cases that during the course of
         34   the travel all firearms are carried in the manner specified in
         35   subsection g. of this section and the person has complied with all
         36   the provisions and requirements of Title 23 of the Revised Statutes
         37   and any amendments thereto and all rules and regulations
         38   promulgated thereunder; or
         39      (c) In the case of a firearm, directly to or from any exhibition or
         40   display of firearms which is sponsored by any law enforcement
         41   agency, any rifle or pistol club, or any firearms collectors club, for
         42   the purpose of displaying the firearms to the public or to the
         43   members of the organization or club, provided, however, that not
         44   less than 30 days prior to the exhibition or display, notice of the
         45   exhibition or display shall be given to the Superintendent of the
         46   State Police by the sponsoring organization or club, and the sponsor
         47   has complied with any reasonable safety regulations the
         48   superintendent may promulgate. Any firearms transported pursuant
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          1   to this section shall be transported in the manner specified in
          2   subsection g. of this section;
          3      (4) A person from keeping or carrying about a private or
          4   commercial aircraft or any boat, or from transporting to or from the
          5   aircraft or boat for the purpose of installation or repair of a visual
          6   distress signaling device approved by the United States Coast
          7   Guard.
          8      g. Any weapon being transported under paragraph (2) of
          9   subsection b., subsection e., or paragraph (1) or (3) of subsection f.
         10   of this section shall be carried unloaded and contained in a closed
         11   and fastened case, gunbox, securely tied package, or locked in the
         12   trunk of the automobile in which it is being transported, and in the
         13   course of travel shall include only deviations as are reasonably
         14   necessary under the circumstances.
         15      h. Nothing in subsection d. of N.J.S.2C:39-5 shall be construed
         16   to prevent any employee of a public utility, as defined in R.S.48:2-
         17   13, doing business in this State or any United States Postal Service
         18   employee, while in the actual performance of duties which
         19   specifically require regular and frequent visits to private premises,
         20   from possessing, carrying or using any device which projects,
         21   releases or emits any substance specified as being noninjurious to
         22   canines or other animals by the Commissioner of Health and which
         23   immobilizes only on a temporary basis and produces only
         24   temporary physical discomfort through being vaporized or
         25   otherwise dispensed in the air for the sole purpose of repelling
         26   canine or other animal attacks.
         27      The device shall be used solely to repel only those canine or
         28   other animal attacks when the canines or other animals are not
         29   restrained in a fashion sufficient to allow the employee to properly
         30   perform the employee's duties.
         31      Any device used pursuant to this act shall be selected from a list
         32   of products, which consist of active and inert ingredients, permitted
         33   by the Commissioner of Health.
         34      i. (1) Nothing in N.J.S.2C:39-5 shall be construed to prevent
         35   any person who is 18 years of age or older and who has not been
         36   convicted of a crime, from possession for the purpose of personal
         37   self-defense of one pocket-sized device which contains and releases
         38   not more than three-quarters of an ounce of chemical substance not
         39   ordinarily capable of lethal use or of inflicting serious bodily injury,
         40   but rather, is intended to produce temporary physical discomfort or
         41   disability through being vaporized or otherwise dispensed in the air.
         42   Any person in possession of any device in violation of this
         43   subsection shall be deemed and adjudged to be a disorderly person,
         44   and upon conviction thereof, shall be punished by a fine of not less
         45   than $100.
         46      (2) Notwithstanding the provisions of paragraph (1) of this
         47   subsection, nothing in N.J.S.2C:39-5 shall be construed to prevent a
         48   health inspector or investigator operating pursuant to the provisions
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          1   of section 7 of P.L.1977, c.443 (C.26:3A2-25) or a building
          2   inspector from possessing a device which is capable of releasing
          3   more than three-quarters of an ounce of a chemical substance, as
          4   described in paragraph (1) of this subsection, while in the actual
          5   performance of the inspector's or investigator's duties, provided that
          6   the device does not exceed the size of those used by law
          7   enforcement.
          8      j. A person shall qualify for an exemption from the provisions
          9   of N.J.S.2C:39-5, as specified under subsections a. and c. of this
         10   section, if the person has satisfactorily completed a firearms
         11   training course approved by the Police Training Commission.
         12      The exempt person shall not possess or carry a firearm until the
         13   person has satisfactorily completed a firearms training course and
         14   shall annually qualify in the use of a revolver or similar weapon.
         15   For purposes of this subsection, a "firearms training course" means
         16   a course of instruction in the safe use, maintenance and storage of
         17   firearms which is approved by the Police Training Commission.
         18   The commission shall approve a firearms training course if the
         19   requirements of the course are substantially equivalent to the
         20   requirements for firearms training provided by police training
         21   courses which are certified under section 6 of P.L.1961, c.56
         22   (C.52:17B-71). A person who is specified in paragraph (1), (2), (3),
         23   or (6) of subsection a. of this section shall be exempt from the
         24   requirements of this subsection.
         25      k. Nothing in subsection d. of N.J.S.2C:39-5 shall be construed
         26   to prevent any financial institution, or any duly authorized
         27   personnel of the institution, from possessing, carrying or using for
         28   the protection of money or property, any device which projects,
         29   releases or emits tear gas or other substances intended to produce
         30   temporary physical discomfort or temporary identification.
         31      l. Nothing in subsection b. of N.J.S.2C:39-5 shall be construed
         32   to prevent a law enforcement officer who retired in good standing,
         33   including a retirement because of a disability pursuant to section 6
         34   of P.L.1944, c.255 (C.43:16A-6), section 7 of P.L.1944, c.255
         35   (C.43:16A-7), section 1 of P.L.1989, c.103 (C.43:16A-6.1), or any
         36   substantially similar statute governing the disability retirement of
         37   federal law enforcement officers, provided the officer was a
         38   regularly employed, full-time law enforcement officer for an
         39   aggregate of four or more years prior to the officer's disability
         40   retirement and further provided that the disability which constituted
         41   the basis for the officer's retirement did not involve a certification
         42   that the officer was mentally incapacitated for the performance of
         43   the officer's usual law enforcement duties and any other available
         44   duty in the department which the officer's employer was willing to
         45   assign to the officer or does not subject that retired officer to any of
         46   the disabilities set forth in subsection c. of N.J.S.2C:58-3 which
         47   would disqualify the retired officer from possessing or carrying a
         48   firearm, who semi-annually qualifies in the use of the handgun the
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          1   officer is permitted to carry in accordance with the requirements
          2   and procedures established by the Attorney General pursuant to
          3   subsection j. of this section and pays the actual costs associated
          4   with those semi-annual qualifications, who is 75 years of age or
          5   younger, and who was regularly employed as a full-time member of
          6   the State Police; a full-time member of an interstate police force; a
          7   full-time member of a county or municipal police department in this
          8   State; a full-time member of a State law enforcement agency; a full-
          9   time sheriff, undersheriff or sheriff's officer of a county of this
         10   State; a full-time State or county correctional police officer; a full-
         11   time State correctional police officer or county correctional police
         12   officer; a full-time State or county park police officer; a full-time
         13   special agent of the Division of Taxation; a full-time Human
         14   Services police officer; a full-time transit police officer of the New
         15   Jersey Transit Police Department; a full-time campus police officer
         16   exempted pursuant to paragraph (10) of subsection c. of this
         17   section; a full-time State conservation police officer exempted
         18   pursuant to paragraph (4) of subsection a. of this section; a full-time
         19   Palisades Interstate Park officer appointed pursuant to R.S.32:14-
         20   21; a full-time Burlington County Bridge police officer appointed
         21   pursuant to section 1 of P.L.1960, c.168 (C.27:19-36.3); a full-time
         22   housing authority police officer exempted pursuant to paragraph
         23   (16) of subsection c. of this section; a full-time juvenile correctional
         24   police officer exempted pursuant to paragraph (9) of subsection a.
         25   of this section; a full-time parole officer exempted pursuant to
         26   paragraph (13) of subsection c. of this section; a full-time railway
         27   policeman exempted pursuant to paragraph (9) of subsection c. of
         28   this section; a full-time county prosecutor's detective or
         29   investigator; a full-time federal law enforcement officer; or is a
         30   qualified retired law enforcement officer, as used in the federal
         31   "Law Enforcement Officers Safety Act of 2004," Pub.L. 108-277,
         32   domiciled in this State from carrying a handgun in the same manner
         33   as law enforcement officers exempted under paragraph (7) of
         34   subsection a. of this section. A retired law enforcement officer
         35   shall be entitled to carry a handgun pursuant to this subsection
         36   under the following conditions [provided herein] :
         37      (1) The retired law enforcement officer shall make application
         38   in writing to the Superintendent of State Police for approval to carry
         39   a handgun [for one year] every two years. [An] A renewal
         40   application [for annual renewal] shall be submitted in the same
         41   manner.
         42      (2) Upon receipt of the written application of the retired law
         43   enforcement officer, the superintendent shall request a verification
         44   of service from the chief law enforcement officer of the
         45   organization in which the retired officer was last regularly
         46   employed as a full-time law enforcement officer prior to retiring.
         47   The verification of service shall include:
         48      (a) The name and address of the retired officer;
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          1      (b) The date that the retired officer was hired and the date that
          2   the officer retired;
          3      (c) A list of all handguns known to be registered to that officer;
          4      (d) A statement that, to the reasonable knowledge of the chief
          5   law enforcement officer, the retired officer is not subject to any of
          6   the restrictions set forth in subsection c. of N.J.S.2C:58-3; and
          7      (e) A statement that the officer retired in good standing.
          8      (3) If the superintendent approves a retired officer's application
          9   or reapplication to carry a handgun pursuant to the provisions of
         10   this subsection, the superintendent shall notify in writing the chief
         11   law enforcement officer of the municipality wherein that retired
         12   officer resides. In the event the retired officer resides in a
         13   municipality which has no chief law enforcement officer or law
         14   enforcement agency, the superintendent shall maintain a record of
         15   the approval.
         16      (4) The superintendent shall issue to an approved retired officer
         17   an identification card permitting the retired officer to carry a
         18   handgun pursuant to this subsection. This identification card shall
         19   be valid for [one year] two years from the date of issuance and
         20   shall be valid throughout the State. The identification card shall not
         21   be transferable to any other person. The identification card shall be
         22   carried at all times on the person of the retired officer while the
         23   retired officer is carrying a handgun. The retired officer shall
         24   produce the identification card for review on the demand of any law
         25   enforcement officer or authority.
         26      (5) Any person aggrieved by the denial of the superintendent of
         27   approval for a permit to carry a handgun pursuant to this subsection
         28   may request a hearing in the Superior Court of New Jersey in the
         29   county in which the person resides by filing a written request for a
         30   hearing within 30 days of the denial. Copies of the request shall be
         31   served upon the superintendent and the county prosecutor. The
         32   hearing shall be held within 30 days of the filing of the request, and
         33   no formal pleading or filing fee shall be required. Appeals from the
         34   determination of the hearing shall be in accordance with law and the
         35   rules governing the courts of this State.
         36      (6) A judge of the Superior Court may revoke a retired officer's
         37   privilege to carry a handgun pursuant to this subsection for good
         38   cause shown on the application of any interested person. A person
         39   who becomes subject to any of the disabilities set forth in
         40   subsection c. of N.J.S.2C:58-3 shall surrender, as prescribed by the
         41   superintendent, the person's identification card issued under
         42   paragraph (4) of this subsection to the chief law enforcement officer
         43   of the municipality wherein the person resides or the
         44   superintendent, and shall be permanently disqualified to carry a
         45   handgun under this subsection.
         46      (7) The superintendent may charge a reasonable application fee
         47   to retired officers to offset any costs associated with administering
         48   the application process set forth in this subsection.
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          1      m. Nothing in subsection d. of N.J.S.2C:39-5 shall be construed
          2   to prevent duly authorized personnel of the New Jersey Division of
          3   Fish and Wildlife, while in the actual performance of duties, from
          4   possessing, transporting or using any device that projects, releases
          5   or emits any substance specified as being non-injurious to wildlife
          6   by the Director of the Division of Animal Health in the Department
          7   of Agriculture, and which may immobilize wildlife and produces
          8   only temporary physical discomfort through being vaporized or
          9   otherwise dispensed in the air for the purpose of repelling bear or
         10   other animal attacks or for the aversive conditioning of wildlife.
         11      n. Nothing in subsection b., c., d. or e. of N.J.S.2C:39-5 shall
         12   be construed to prevent duly authorized personnel of the New
         13   Jersey Division of Fish and Wildlife, while in the actual
         14   performance of duties, from possessing, transporting or using hand
         15   held pistol-like devices, rifles or shotguns that launch pyrotechnic
         16   missiles for the sole purpose of frightening, hazing or aversive
         17   conditioning of nuisance or depredating wildlife; from possessing,
         18   transporting or using rifles, pistols or similar devices for the sole
         19   purpose of chemically immobilizing wild or non-domestic animals;
         20   or, provided the duly authorized person complies with the
         21   requirements of subsection j. of this section, from possessing,
         22   transporting or using rifles or shotguns, upon completion of a Police
         23   Training Commission approved training course, in order to dispatch
         24   injured or dangerous animals or for non-lethal use for the purpose
         25   of frightening, hazing or aversive conditioning of nuisance or
         26   depredating wildlife.
         27   (cf: P.L.2019, c.407, s.2)
         28
         29      9. (New section) Notwithstanding any provision of the
         30   “Administrative Procedure Act,” P.L.1968, c.410 (C.52:14B-1 et
         31   seq.) to the contrary, the Superintendent of State Police may adopt
         32   immediately upon filing with the Office of Administrative Law
         33   such regulations as the superintendent deems necessary to
         34   implement the provisions of P.L. , c. (C. ) (pending before the
         35   Legislature as this bill) , which shall be effective for a period not to
         36   exceed 18 months, and may thereafter be amended, adopted, or
         37   readopted by the superintendent in accordance with the
         38   requirements of the “Administrative Procedure Act,” P.L.1968,
         39   c.410 (C.52:14B-1 et seq.).
         40
         41      10.     (New section) a. Notwithstanding the provisions of
         42   subsection d. of N.J.S.2C:58-4, application determinations for a
         43   permit to carry a handgun that were pending before the Superior
         44   Court and filed prior to the date of enactment of P .L. , c. (C. )
         45   (pending before the Legislature as this bill) shall be made by the court.
         46   A Judge of the Superior Court may rely on the approval by the chief
         47   police officer or superintendent, as the case may be, as the basis for
         48   issuing the permit.
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          1      b. Application determinations for a permit to carry a handgun that
          2   are submitted on or after the date of enactment of P .L. , c. (C. )
          3   (pending before the Legislature as this bill) shall be made by a chief
          4   police officer or superintendent, as the case may be, in accordance
          5   with subsection d. of N.J.S.2C:58-4.
          6
          7      11. (New section) The provisions of P.L.                         ,
          8   c. (C.         )(pending before the Legislature as this bill) are
          9   severable; if any provision, or application of any provision, of this
         10   amendatory and supplementary act is held invalid by any court, the
         11   holding or judgment shall not affect the remaining provisions or
         12   applications of the provisions thereof.
         13
         14       12. Sections 2, 3, 7, and 10 of this act shall take effect
         15   immediately and the remainder of this act shall take effect on the
         16   first day of the seventh month next following the date of enactment,
         17   but the Attorney General, Superintendent of State Police, and
         18   Commissioner of Banking and Insurance may take such anticipatory
         19   action as is necessary for the implementation of this act.
